Filed 08/30/19                                                                Case 19-25457                                                                        Doc 5


                  Fill in this information to identify your case:

     Debtor 1                  Frank Dean Deti
                               First Name                       Middle Name                Last Name

     Debtor 2                  Deidre Ann May-Deti
     (Spouse if, filing)      First Name                        Middle Name                Last Name

                                                        EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:            DIVISION

     Case number
     (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                                        12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
            whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
            the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
              and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
             write your name and case number (if known).

     Part 1:        List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                    secures a debt?                                     as exempt on Schedule C?



        Creditor's         Ford Motor Credit                                   Surrender the property.                              No
        name:                                                                  Retain the property and redeem it.
                                                                               Retain the property and enter into a Reaffirmation    Yes
        Description of       2017 Ford Ford F150                                 Agreement.
        property                                                              Retain the property and [explain]:
        securing debt:                                                         Retain and pay


        Creditor's         Ford Motor Credit Co                                Surrender the property.                               No
        name:                                                                  Retain the property and redeem it.
                                                                              Retain the property and enter into a Reaffirmation    Yes
        Description of       2016 Ford Mustang                                  Agreement.
        property                                                               Retain the property and [explain]:
        securing debt:



        Creditor's         Harley Davidson Cr ESB                              Surrender the property.                               No
        name:                                                                  Retain the property and redeem it.
                                                                               Retain the property and enter into a Reaffirmation   Yes
        Description of       2017 Harley Davidson Road                           Agreement.
        property             Glide 107 ci                                     Retain the property and [explain]:
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     Debtor 1
     Debtor 2      Deti, Frank Dean & May-Deti, Deidre Ann                                               Case number (if known)


         securing debt:                                                      Retain and pay


         Creditor's    New Rez LLC                                          Surrender the property.                                    No
         name:                                                              Retain the property and redeem it.
                                                                            Retain the property and enter into a Reaffirmation        Yes
         Description of    3601 Pullman Dr, Sacramento,                        Agreement.
         property          CA 95827-3737                                   Retain the property and [explain]:
         securing debt:                                                      Retain and pay


         Creditor's    Wells Fargo Dealer Svc                               Surrender the property.                                    No
         name:                                                              Retain the property and redeem it.
                                                                            Retain the property and enter into a Reaffirmation        Yes
         Description of    2008 Honda Civic                                    Agreement.
         property                                                          Retain the property and [explain]:
         securing debt:                                                      Retain and pay

     Part 2:  List Your Unexpired Personal Property Leases
    For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
    the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
    may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                             Will the lease be assumed?

     Lessor's name:              Ford Motor Credit Comp                                                                            No
                                                                                                                                     Yes

     Description of leased       Installment account opened 3/1/2017
     Property:                    Credit Limit: $17,703.00, Remaining Balance: $4,768.00


     Part 3:      Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
    property that is subject to an unexpired lease.

     X     /s/ Frank Deti                                                             X /s/ Deidre A. May-Deti
           Frank Dean Deti                                                                Deidre Ann May-Deti
           Signature of Debtor 1                                                          Signature of Debtor 2

           Date        August 28, 2019                                                Date     August 28, 2019




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